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                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT
                              BRIDGEPORT DIVISION

In re                                                             Chapter 11

HO WAN KWOK                                                       Case No. 22-50073 (JAM)
a/k/a WENGUI GUO
a/k/a MILES GUO,

                        Debtor.                       Re: ECF 498 and 499
_____________________________________________________________________________


  WITHDRAWAL OF UNITED STATES TRUSTEE’S NOTICE OF APPOINTMENT
    OF CHAPTER 11 TRUSTEE (ECF 498) AND APPLICATION FOR ORDER
     APPROVING APPOINTMENT OF A CHAPTER 11 TRUSTEE (ECF 499)


        William K. Harrington, the United States Trustee for Region 2, hereby withdraws his

Notice of Appointment of Chapter 11 Trustee (ECF 498) and Application for an Order

Approving Appointment of a Chapter 11 Trustee (ECF 499).



Dated: July 5, 2022                         Respectfully submitted,
       New Haven, Connecticut
                                            WILLIAM K. HARRINGTON
                                            UNITED STATES TRUSTEE FOR REGION 2

                                            By:    /s/ Holley L. Claiborn
                                                   Holley L. Claiborn
                                                   Trial Attorney
                                                   Office of the United States Trustee
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                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT
                              BRIDGEPORT DIVISION

In re                                                             Chapter 11

HO WAN KWOK                                                       Case No. 22-50073 (JAM)
a/k/a WENGUI GUO
a/k/a MILES GUO,

              Debtor.



                               CERTIFICATE OF SERVICE

         The undersigned certifies that on the July 5, 2022, the foregoing Withdrawal was
served as noted below and on all appearing parties via the court’s electronic filing system as
listed in section 2 below.

   1. Service on Joe D. Whitley via email: Joe D. Whitley at joe.whitley@wbd-us.com

   2. Parties Served Via ECF

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Dated: July 5, 2022                         Respectfully submitted,
       New Haven, Connecticut
                                            WILLIAM K. HARRINGTON
                                            UNITED STATES TRUSTEE FOR REGION 2

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